1. The accusation charged that the defendant "did keep, maintain, and operate a lottery known as the `number game' for the hazarding of money." The defendant was convicted, and she excepted. As the statute makes penal the keeping, maintaining, or carrying on of such device, it is sufficient to show the keeping and maintaining of such scheme without proving the actual drawing. Proof of any one would be sufficient for conviction. Thomas v. State, 118 Ga. 774 (45 S.E. 622).
2. The finding of the paraphernalia for operating the lottery in the home of the defendant created the presumption that she was the owner of the paraphernalia and the possessor thereof. This presumption was rebuttable. Though other persons were in the house with the defendant at the time of the officers' raid, the jury had the right to concluded from the evidence that the paraphernalia belonged to the defendant, and that the evidence was sufficient to show the keeping and maintaining of such a scheme. The court did not err in overruling the certiorari based on the general grounds. Code § 26-6502; Thomas v.  State, supra; Sims v. State, 60 Ga. App. 32
(2 S.E.2d, 716); Morgan v. State, 62 Ga. App. 493 (8 S.E.2d 694). This case is distinguishable from Jones v. State, 64 Ga. App. 308 (13 S.E.2d 91), in that there no presumption arose as to the possession, keeping, or maintaining the lottery paraphernalia, as in the instant case.
Judgment affirmed. Broyles, C. J., and Gardner, J.,concur.
                       DECIDED SEPTEMBER 21, 1942.
                   STATEMENT OF FACTS BY MacINTYRE, J.
Lyle, a police officer, who was in the raid, testified: "The address we went to, the home of Winifred Stovall [the defendant], was at 76 Richmond Street [Fulton County, Georgia]." Ochs, a police officer, testified in part as follows: "We went to 76 Richmond Street . . and went in the house, and in the middle of the room . . we found this adding machine and lottery tickets. I found that adding machine . . connected up to the light cord, and it was in operation, had been. . . There was indication of recent operation. . . These [books that we found] are known as books of yellow lottery tickets, used in the lottery, known as the `number game,' and here is the tape that is known as an adding-machine ribbon in the lottery. . . At the time . . there was a ribbon on there with figures on it in the machine. All those batches of papers . . were in that room, . . in *Page 28 
the same room the adding machine was. . . The tickets were scattered all over the room. Nobody was in this particular room. . . Winifred Stovall was in the front room, on the bed, putting on her hose. . . That was Winifred Stovall's house and she livedthere. There was also in the house at that time Willie Lewis, Lawrence Williams, G. T. Stovall, Ruth Stone. . . In the room where this lottery material was, were several chairs where they had been checking up, and the adding machine was coupled up to the light cord. . . I had a conversation with this defendant Winifred Stovall at that time. She stated Ruth Stone had only come there to see her and she didn't know anything about what was going on there, and that she had rented this room out to somebody and didn't know anything about this lottery going on." (Italics ours.)
The defendant, in her statement to the jury, said: "That is not my house but my mother's house and I stay there with her." Ochs, the police officer, having been recalled, testified: "At the time I went out there and made this arrest and found these people in the house I didn't find anybody claiming to be the mother of Winifred Stovall. I didn't find any old person in the house or anybody else than the ones I named and identified here to-day."